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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                               ENTRY OF APPEARANCE
       Please enter the appearance of Riane A. White and Silverman Thompson Slutkin White

LLC as counsel for Defendant, Stephen K. Bannon in the above captioned matter.

Dated: July 15, 2022                      Respectfully submitted,

                                          SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                             /s/ Riane A. White
                                          M. Evan Corcoran (D.C. Bar No. 440027)
                                          Riane A. White (Pro Hac Vice)
                                          400 East Pratt Street – Suite 900
                                          Baltimore, MD 21202
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                                          Facsimile: (410) 547-2432
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                                             /s/ David I. Schoen
                                          David I. Schoen (D.C. Bar No. 391408)
                                          David I. Schoen, Attorney at Law
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                                          Counsel for Defendant Stephen K. Bannon
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of July 2022, a copy of the foregoing Entry of

Appearance was served via the Court’s CM/ECF system on registered parties and counsel.


                                             /s/ Riane A. White
                                          Riane A. White (Pro Hac Vice)




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